                       Case No. 23-1374 & 23-1880

                 UNITED STATES COURT OF APPEALS
                     FOR THE EIGHTH CIRCUIT

             BROOKE HENDERSON and JENNIFER LUMLEY,

                                             Plaintiffs-Appellants,
                                      v.
            SCHOOL DISTRICT OF SPRINGFIELD R-12, et al.,
                                               Defendants-Appellees.

      UNOPPOSED MOTION OF GOLDWATER INSTITUTE,
KANSAS POLICY INSTITUTE, MISSISSIPPI JUSTICE INSTITUTE, AND
 SHOW ME INSTITUTE TO FILE AMICI CURIAE BRIEF IN SUPPORT
      OF PLAINTIFFS-APPELLANTS AND IN SUPPORT OF
                   REHEARING EN BANC

               On Appeal from the United States District Court
               for the Western District of Missouri - Springfield
         Case No. 6:21-cv-03219, Hon. M. Douglas Harpool, presiding

                                      Scharf-Norton Center for
                                      Constitutional Litigation at the
                                      GOLDWATER INSTITUTE
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                     IDENTITY AND INTEREST OF AMICI

      The Goldwater Institute, the Kansas Justice Institute, the Mississippi Justice

Institute, and the Show Me Institute are all non-profit public interest legal

organizations (located in Arizona, Kansas, Mississippi, and Missouri, respectively)

devoted to the vindication of constitutional rights against government overreach

and abuse. They litigate, file amicus briefs, publish legal research, and otherwise

advocate for constitutional principles such as the freedom of speech and the

promotion of a color-blind society in which government treats everybody the same

without regard to skin color. They have appeared in state and federal courts across

the country in support of their institutional principles, see, e.g., Vizaline, L.L.C. v.

Tracy, 949 F.3d 927 (5th Cir. 2020); Mo. Broad. Ass’n v. Schmitt, 946 F.3d 453 (8th

Cir. 2020); Beavers v. City of Jackson, 439 F. Supp.3d 824 (S.D. Miss. 2020);

Crowe v. Or. State Bar, 989 F.3d 714 (9th Cir. 2021), as well as in this Court.

Fleck v. Wetch, 937 F.3d 1112 (8th Cir. 2019); Pharmaceutical Research & Mfrs.

Assn. v. Williams, 64 F.4th 932 (8th Cir. 2023); Niang v. Carroll, 879 F.3d 870 (8th

Cir. 2018).

      All of these amici appeared as amici before the panel in this case, as well.




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                THE COURT SHOULD GRANT THE MOTION
                     TO APPEAR AS AMICUS CURIAE

      “An amicus brief should normally be allowed … when the amicus has

unique information or perspective that can help the court beyond the help that the

lawyers for the parties are able to provide.” Cmty. Ass’n for Restoration of Env’t

(CARE) v. DeRuyter Bros. Dairy, 54 F. Supp.2d 974, 975 (E.D. Wash. 1999).

Given the amici’s expertise and experience with regard to “anti-racism” (AR) and

their familiarity with the constitutional issues, amici believe their legal expertise

and public policy experience will assist this Court in its consideration of this

petition.

      The proposed brief addresses some significant flaws in the reasoning of the

panel opinion and explains why it is critically important for the en banc court to

review its decision. The brief demonstrates, first, that the panel applied the wrong

standing analysis regarding “chills” on free speech: the proper test being whether a

reasonable person would have been deterred from speaking, not (as the panel had

it) whether the particular plaintiff actually desisted from speaking—and, second,

that the panel erred in its application of the “compelled speech” test as well, by

ignoring the context. The relevant context here is that the AR training was

inherently coercive, because AR holds that to disagree with AR is racist—and thus

grounds for moral condemnation and even termination from employment. Given

the Supreme Court’s holding that intense forms of peer pressure and intimidation
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are tantamount to coercion in this compelled-speech context, see, e.g., Lee v.

Weisman, 505 U.S. 577 (1992), the panel disregarded one of the most important

elements of compelled speech law. These twin errors, if left uncorrected by the en

banc court, will distort the freedom of speech in the Eighth Circuit and bar

plaintiffs from vindicating their free speech rights.

      No counsel for any party authored the proposed amicus brief in whole or in

part and no person or entity, other than the amici, their members, or counsel, made

a monetary contribution to the preparation or submission of this brief.

Respectfully submitted this 4th day of October, 2024.

                                         /s/ Timothy Sandefur
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                                         Adam C. Shelton
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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 4, 2024, I electronically filed the

foregoing document with the Clerk of the Court for the United States Court of

Appeals for the Ninth Circuit by using the appellate CM/ECF system.

I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.

/s/ Timothy Sandefur
Timothy Sandefur




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